




NO. 07-01-0331-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



FEBRUARY 5, 2002



______________________________





RAUL MARTINEZ, APPELLANT



V.



WELDON EDWARDS D/B/A WELDON EDWARDS HEREFORDS, APPELLEE





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FROM THE 110
TH
 DISTRICT COURT OF DICKENS COUNTY;



NO. 3868; HONORABLE JOHN R. HOLLUMS, JUDGE



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Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

Appellant Raul Martinez has appealed from a judgment rendered against him in a personal injury cause of action. &nbsp;For the reasons expressed, we dismiss the appeal.

Notice of appeal was filed by appellant on July 31, 2001. &nbsp;Two requests for extension of time were thereafter granted to the court clerk for the filing of the clerk’s record, and one request for extension of time was granted to the court reporter for the filing of the reporter’s record. &nbsp;Each time, we were notified that appellant had not paid or made arrangements to pay for the record. &nbsp;The most recent extensions gave the court clerk and the court reporter until December 21, 2001, to file the records. &nbsp;&nbsp;

However, we were notified by letter dated January 9, 2002, from the court clerk that she has had no communications from appellant regarding payment for the preparation of the record and, as of this date, no records have yet been filed in this appeal. &nbsp;By letter dated January 17, 2002, we notified appellant that if an arrangement had not been made to pay for the records within ten days from the date of the letter, the appeal would be subject to dismissal. Tex. R. App. P. 42.3. &nbsp;To date, we have received no response. &nbsp;

Accordingly, the appeal is hereby dismissed. 

Per Curiam

Do not publish. 


